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                                     BEFORE THE
                     UNITED STATES COURT OF INTERNATIONAL TRADE


                                                 )
 SEAH STEEL VINA CORPORATION,                    )
                                   Plaintiff     )
                                                 )
                        v.                            Court No. 23-00256
                                                 )
 UNITED STATES,                                  )
                                   Defendant.    )
                                                 )


                                       COMPLAINT

    Plaintiff SeAH Steel VINA Corporation (“Plaintiff” or “SeAH VINA”), files this

complaint to contest the final affirmative determination by the U.S. Department of

Commerce (“Commerce”) in the circumvention inquiry of the antidumping duty order on

Certain Circular Welded Non-Alloy Steel Pipe from the Republic of Korea (“Korea”).

                                       JURISDICTION

    1.     This action arises out of a circumvention inquiry conducted by Commerce

pursuant to Section 781(b) of the Tariff Act of 1930, as amended (the “Act”), 19 U.S.C.

§ 1677j(b), and 19 C.F.R. § 351.226. Commerce published notice of the final

determination of the inquiry in the Federal Register on November 9, 2023. See Certain

Circular Welded Non-Alloy Steel Pipe from the Republic of Korea: Final Affirmative

Determination of Circumvention of the Antidumping Order; 88 Fed. Reg. 77270

(November 9, 2023) (hereinafter referred to as the “Final Determination”).

    2.     This action is commenced pursuant to Sections 516A(a)(2)(A) and (B)(vi) of the

Act, 19 U.S.C. § 1516a(a)(2)(A) and (B)(vi). Consequently, this Court has jurisdiction
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over this matter by reason of 28 U.S.C. § 1581(c), which confers upon the Court exclusive

jurisdiction over civil actions commenced under Section 516A of the Act.

                     PLAINTIFF’S STANDING TO COMMENCE THIS ACTION

     3.     Plaintiff is a producer and exporter of Circular Welded Non-Alloy Steel Pipe

(hereinafter referred to as “CWP”) from the Socialist Republic of Vietnam (“Vietnam”),

the subject merchandise at issue in this appeal. Plaintiff participated as a respondent in the

circumvention inquiry that is the subject of this appeal. Accordingly, Plaintiff is an

“interested party” within the meaning of Section 771(9)(A) of the Act, as amended, 19

U.S.C. § 1677(9)(A), and has standing to commence this action pursuant to 19 U.S.C.

§ 1516a(d) and 28 U.S.C. § 2631(c).

                                 TIMELINESS OF THIS ACTION

     4.     On November 9, 2023, the Final Determination were published in the Federal

Register. See Certain Circular Welded Non-Alloy Steel Pipe from the Republic of Korea:

Final Affirmative Determination of Circumvention of the Antidumping Order; 88 Fed. Reg.

77270 (November 9, 2023).

     5.     Plaintiff initiated this action by filing a summons on December 6, 2023, and

filling this complaint on January 5, 2024, both within the time specified by

Section 516A(a)(2) of the Act, 19 U.S.C. § 1516a(a)(2)(A), 28 U.S.C. § 2636(c), and Rule

3(a)(2) of the Rules of this Court, which permit parties to challenge the final affirmative

determination of a circumvention inquiry by filing a summons within 30 days after the date

of mailing of the final determination, and a complaint within 30 days thereafter. 1



1 The Final Determination was mailed to Plaintiff’s counsel on November 6, 2023.




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                                  STATEMENT OF FACTS

    6.     In October 2011, the U.S. producers of CWP filed antidumping and

countervailing duty petitions against imports of CWP from Vietnam and three other

countries (India, Oman, and the UAE). SeAH VINA was selected as a mandatory

respondent and individually examined in both the antidumping and countervailing duty

investigations of Vietnam. The preliminary determination in both investigations were

negative.2 In the final determinations, the Department increased SeAH VINA’s dumping

margin to 3.96 percent, but again found only de minimis subsidies. 3 Before SeAH VINA

could appeal Commerce’s dumping determination, the U.S. International Trade

Commission (“ITC”) made a negative injury determination, terminating the investigation. 4

    7.     In October 2015, the U.S. producers of CWP filed another petition against CWP

from Vietnam and four other countries (Oman, Pakistan, the Philippines, the UAE). This




2 See Circular Welded Carbon-Quality Steel Pipe from the Socialist Republic of Vietnam:

Preliminary Determination of Sales at Less Than Fair Value and Postponement of Final
Determination, 77 Fed. Reg. 32552 (June 1, 2012); Circular Welded Carbon-Quality Steel
Pipe From the Socialist Republic of Vietnam: Preliminary Affirmative Countervailing Duty
Determination and Alignment of Final Countervailing Duty Determination With Final
Antidumping Duty Determination, 77 Fed. Reg. 19211 (Mar. 30, 2012).

3 See Circular Welded Carbon-Quality Steel Pipe from the Socialist Republic of Vietnam:

Notice of Final Determination of Sales at Less Than Fair Value, 77 Fed. Reg. 64483 (Oct.
22, 2012); Circular Welded Carbon-Quality Steel Pipe From the Socialist Republic of
Vietnam: Final Negative Countervailing Duty Determination, 77 Fed. Reg. 64471 (Oct.
22, 2012).

4 See Circular Welded Carbon-Quality Steel Pipe from India, Oman, the United Arab

Emirates, and Vietnam, Investigation Nos. 701-TA-482-484 and 731-TA-1191-1194
(Final), USITC Pub. 4362 (December 2012).



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second petition included only dumping claims against Vietnam. 5 Once more, SeAH VINA

was selected as a mandatory respondent. 6 Once more, Commerce made a negative

determination for SeAH VINA, finding a final dumping margin of zero.7 And, once more,

the ITC made a negative injury determination for Vietnam. 8

     8.     On May 17, 2022, Bull Moose Tube Company, Maruichi American Corporation,

Nucor Tubular Products Inc., Wheatland Tube Company, and the United Steel, Paper, and

Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers

International Union, AFL-CIO, CLC (the “USW”) (collectively, “Domestic Interested

Parties”) filed a request that Commerce initiate a country-wide circumvention inquiry

under Section 781(b) of the Act, 19 U.S.C. § 1677j(b), and 19 C.F.R. § 351.226 to

determine whether CWP completed in Vietnam using hot-rolled steel (“HRS”)

manufactured in Korea is circumventing the antidumping duty order on CWP from Korea

(“the Korea CWP Order”), and accordingly, should be included within the scope of the

Korea CWP Order.

     9.     Commerce published a notice of initiation of the circumvention inquiry on

August 4, 2022. See Circular Welded Carbon Quality Steel Pipe from the People’s



5 See Circular Welded Carbon-Quality Steel Pipe from the Socialist Republic of Vietnam:

Final Determination of Sales at Less Than Fair Value, 81 Fed. Reg. 75042, (Oct. 28,
2016).

6 See Circular Welded Carbon-Quality Steel Pipe From the Socialist Republic of Vietnam:

Final Determination of Sales at Less Than Fair Value, 81 Fed. Reg. 75042 (Oct. 28, 2016)

7 See id.


8 See Circular Welded Carbon-Quality Steel Pipe from Oman, Pakistan, the United Arab

Emirates, and Vietnam, Investigation Nos. 701-TA-549 and 731-TA-1299, 1300, 1302 and
1303 (Final), USITC Pub. 4651, at 13-14 (December 2016).



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Republic of China; Certain Circular Welded Non-Alloy Steel Pipe from the Republic of

Korea; Certain Welded Carbon Steel Standard Pipes and Tubes from India; Certain

Circular Welded Carbon Steel Pipes and Tubes from Taiwan; Certain Circular Welded

Non-Alloy Steel Pipe from Taiwan; Light-Walled Rectangular Pipe and Tube from the

People’s Republic of China; Light-Walled Rectangular Pipe and Tube from the Republic

of Korea; Light-Walled Welded Rectangular Carbon Steel Tubing from Taiwan: Initiation

of Circumvention Inquiries on the Antidumping and Countervailing Duty Orders, 87 Fed.

Reg. 47711 (August 4, 2022).

    10. On August 30, 2022, Commerce selected SeAH VINA and Vietnam Haiphong

Hongyuan Machinery as the mandatory respondents. In accordance with the schedule

established by Commerce, SeAH VINA timely submitted its responses to Commerce’s

initial and supplemental questionnaires. On April 12, 2023, Commerce issued the

preliminary affirmative determination in which it determined that CWP completed in

Vietnam using HRS manufactured in Korea and subsequently exported from Vietnam to

the United States was circumventing the Korea CWP Order on a country-wide basis. As a

result, Commerce preliminarily determined that CWP completed in Vietnam using HRS

manufactured in Korea and subsequently exported from Vietnam to the United States

should be included within the scope of the Korea CWP Order.

    11. Interested parties submitted their case briefs and rebuttal briefs in May and June

of 2023.9 On November 9, 2023, Commerce issued a final affirmative determination in




9 Commerce scheduled a verification of SeAH VINA’s submissions in this inquiry to be

taken place at SeAH VINA’s factory in Vietnam in April 2023. However, the verification
was ultimately cancelled by Commerce.



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which it continued to find that CWP completed in Vietnam using HRS manufactured in

Korea and subsequently exported from Vietnam to the United States was circumventing

the Korea CWP Order on a country-wide basis, and thus should be included within the

scope of the Korea CWP Order.

    12. This appeal followed.

                                   STATEMENT OF CLAIMS

    13. In this appeal, Plaintiff challenges Commerce’s Final Determination in the

circumvention inquiry of the antidumping duty order on CWP from Korea in which

Commerce found that CWP completed in Vietnam using HRS manufactured in Korea and

subsequently exported from Vietnam to the United States was circumventing the Korea

CWP Order on a country-wide basis, and thus should be included within the scope of the

Korea CWP Order.

    14. Commerce’s Final Determination was arbitrary and capricious, unsupported by

substantial evidence on the record, or otherwise not in accordance with law for the

following reasons, among others:

    (1) Commerce’s determination that it was not bound by its previous determination

          that SeAH VINA’s exports of CWP produced using imported HRS were

          products of Vietnam was arbitrary and capricious, unsupported by substantial

          evidence on the record, or otherwise not in accordance with law.

    (2) Commerce’s decision to impose antidumping on SeAH VINA’s CWP exports

          where Commerce and the ITC previously determined that SeAH VINA’s CWP

          exports were not dumped and did not cause injury to the U.S. industry was




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         arbitrary and capricious, unsupported by substantial evidence on the record, or

         otherwise not in accordance with law.

    (3) Commerce’s determination that the production of CWP from imported HRS

         constituted “assembly or completion” within the meaning of the circumvention

         statute was arbitrary and capricious, unsupported by substantial evidence on the

         record, or otherwise not in accordance with law.

    (4) Commerce’s determination that the process of completion of CWP in Vietnam

         was minor or insignificant and that the value added by SeAH VINA’s production

         of CWP from HRS was small was arbitrary and capricious, unsupported by

         substantial evidence on the record, or otherwise not in accordance with law.

    (5) Commerce’s failure to account for SeAH VINA’s pattern of trade and sourcing

         and the lack of SeAH VINA’s affiliation with any company located in Korea that

         produced HRS in reaching its affirmative circumvention determination was

         arbitrary and capricious, unsupported by substantial evidence on the record, or

         otherwise not in accordance with law.

                                 DEMAND FOR JUDGMENT

    15. WHEREFORE, Plaintiff respectfully requests this Court to:

         (1) Declare Commerce’s Final Determination to be arbitrary and capricious,

unsupported by substantial evidence, and otherwise not in accordance with law;

         (2) Remand this matter to Commerce for disposition in a manner consistent

with the judgment of this Court; and

         (3) Provide such other relief as this Court deems appropriate.


                                            Respectfully submitted,


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                                   /s/Jeffrey M. Winton
                                   Jeffrey M. Winton
                                   Vi N. Mai

                                   WINTON & CHAPMAN PLLC
                                   1100 13th St., N.W., Suite 825
                                   Washington, DC 20005
                                   (202) 774-5500

                                   Attorneys for SeAH Steel VINA Corporation


Dated: January 5, 2024




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